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                 10:
                                      UNITED STATES DISTRICT CDUlIT J1.Jix;E,
                                    ;, HONORABLKJUix;E;,'AUDREY G. FLEISSIG
RECEIVED
 SEP ll 5 2018

BY MAI( RE:            =CAS=E=N0=:=4:=14=-=0J,=-004===11=-AGF==(WIU.IAMSt:V~ WALLACE/MINOR), - TIIIS-
                        OONCERNS FILING A MJITON 10 OOMPEL AND PRESENI'ING (SOOWING) E.VIDENCE
                        OF INNOCENCE AND SOOWING 'IlIE COURT 'IlIE FlJlL SCALE OF A OONSPIRACY OF
                        A IAW ENFORCEMENT AGENCY USING FALSE E.VIDENCE AND CAN -A WRIT BE ISSUED
                        wrrmur A PEITTION      IF 1HAT EVIDENCE IS RIGHI IN FRON!' OF YOU. ;SOOWING
                        'IlIE OOURT THAT BO'lll CASES ARE CONNECfED 10 ONE ANO'IHER



 DEAR HONORABI.E JUDGE, FLEISSIG,
                                         I nIANK YOU FOR GIVING ME 'IlIE OPPOR1UNI1Y 10 PRESENI' MY
  CASE AT AN EVIDENTIARY HEARING WHICH IS NOW. SCHEDULED FOR GCIDBER 11, 2018 AT 10; 00 am
  BUI' I 00 HAVE CONCERNS. IN YOUR MARCH 20,2018 ORDER, YOU STATED: "I WILL BE ABLEl'lO
  AND HAVE 1HE OPPORTUNI1Y 10 SHOW 1HE OOURT THAT A CONSPIRACY EXISTED BEI'WEEN I.AW ENFORCEMFNr
  0FFICIAlS 10 FALSIFY DNA ANALYSIS AND RESULTS'1            "I" AM ABIE 10 DEM>NSTRATE 10 THIS• 'COURT
  1HAT A CONSPIRACY EXISTED Bur I OONI' KNOW IF MY ATIORNEY MR. SWIECICKI IS ABLE BECAUSE
  FOR ONE HIS OFFICE IS IN CHES'I'ERRIIl:1}_ AND I HAVE BEEN TRYING 10 GE!' MY ATI.ORNEY 10 "COMPEi:."
  1HE RESPONDENT TO PRODUCE THE CLAIMID "SINGLE PHal'(X;RAPH WI1H WITNESS SIGNA'IURE ON 'IlIE BACK" .
  IN CASE NO: 10SL-CR09241 (CHFSI'ERFIEID POLICE DEPATRMEN!')"••• CHESI'ERFIElD POLICE D;EPAR1MEN1"
  IS A PAR!' OF 1HE OONSPIRACY AND ISLMENr'I.0NEDJ.iillNAUlIECNE.lvi.Y DISOOVERED EVIDENCE OOCUMENTS AS
  1HE "SECOND AGENCY'' IN 1HE CASE ABOVE (4:14-CV-00411-A§F).              rn~ REASONS   FOR SIATING 1HIS IS
                                                                                              ..
                                                                                              ·
  AS FOUOWS:


 *AU. OOCUMENT.tS)/EVIDENCE ATIACHED HERE-ID ARE ALSO IN 'IlIE APPELLANT'S APPENDIX AND/OR
  FILED IN THE UiS.1-,,APPFALS/U.S. DISTRICT OOURT ••••••




 1).
       CHESTERFIELD POLICE· DEPARTMENT IS A PART OF THE '~CONSPIRACY"; THEY ( CHEST-
       ERFIELD ~.POLICE ~DEPARTMENT): IS THE •~'SECOND AGENCY" WHO TOWN AND COUNTRY
       P:OLICE,:;,Q$,.,R'.r~ENT AND ALSO Sl~~LOUIS,,SOUNTY Ci1R1:ME LAB A~ALYST TOLD'fTO




                                                 1
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.COME AND GET AN "ADDITIONAL BUCCAL SWAB SAMPLE·FROMt PETITIONER !NORDER
 TO FALSIFY DNA ANALYSIS AND RESULTS AS DESCRIBED IN THE NEWLY DISCOVERED
 EVIDENCE DOCUMENTS ATTACHED TO PETITIONER'S TRAVERSE AND MEMORANDUM (SEE
 EXHIBIT ff,, pg.·-12 AND EXHIBIT #12, pg. 18 ATTACHED HERE'f::t0)

2) •                                                          .                  ·              11
       !NORDER TO HAVE REASON(S) TO OBTAIN THE "ADDITIONAL BUCCAL SWAB.SAMPLE
       FROM PETITIONER TO HELP "CONSPIRE" WITH TOWN AND COUNTRY POLICE DEPARTMENT
       AND>ALSff:ST~LOUIS LCOUNTYTCRIMEi·]:;AB1,'.:CHESTERFIELD POLICE DEPARTMENT USED
       "FALSE INFORMATION AND EVIDENCE" CLAIMING THAT: "WITNESS, VICTORIA PLUMA
       IDENTIFIED PETITIONER IN A PHOTO LINEUP AS FOLLOWS:
A).               .                   .             ·.·                      .
       CHESTERFIELD POLICE DEPARTMENT STATES THAT A PHOTO LINEUP WAS PREPARED
       USING REGIS. PETITIONER IS PHOTO #1, TRACKING NUMBER #41186542 (SEE
       EXHIBIT #1, pg._7_ ATTACHED HERE-TO) ••
   *THEN CHESTERFIELD POLICE DEPARTMENT CLAIMS THAT:
B).
           PHOTO'S WERE PRINTED OUT AND CUT INTO INDIVIDUAL PHOTO'S SO THEY CAN BE
           PLACED IN\ RANDOM ORDER, CLAIMING .THAT PETITIONER'S PHOTO IS "NOW" .l lllN THE
           PHOTO #4 POSITION (SEE EXHIBIT #2, pg._8_ ATTACHED HERE-TO)
   *THEN CHESTERFIELD POLICE DEPARTMENT STATES -iN DOCUMENT THAT:
C).
           OFFICER HERNANDEZ EXPLAINED THE LINEUP PROCESS TO WITNESS PLUMA AND THEN
           OFFICER HERNANDEZ "CLAIMED" TO SHOW WITNESS PLUMA EACH PHOTO INDIVIDUALLY
           AND ONE AT A TIME.
                       '
           AFTER . VIEWING THE PHOTO I S, WITNESS IDENTIFIED PHOTO:,~f.4:t {ANDRE\i.WILLIAM$)
           AND OFFICER HERNANDEZ HAD WITNESS PLUMA "SIGN AND DATE THE BACK OF
           PHOTO #4° INDICATING HER IDENTIFICATION (SEE EXHIBIT .13, pg.L ATTACHED
           HERE-TO)

  * NOW COMES. THE SE€0NDT:PAR::t~OE.CTHE::.REAS.ONICHESTERE~ELDLP0LICESDEPARTMENT
     USED TO·ACTUALLY OBTAIN THE "ADDITIONAL BUCCAL SWAB SAMPLE FROM PETITIONER"
     !NORDER TO •~CONSPIRE" WITH TOWN AND COUNTRY POLICE DEPARTMENT AND"~ARSO
     ST .LOUIS COUNTY::.CRIMK~LAB:;TO FALSIFY DNA ANALYSIS AND REPORTS AS DESCRIBED
    _INlTHE ::NEWLY DISCOVERED EVIDENCE DOCUMENT(S) (EXHIBIT #6, pg.Jl_ AND
     EXHIBIT #12,
       C
                          pg. -,:--.
               :r~;··-·---···
                   •
                               18 ) THAT
                                     ----·, -'f:SHOWS
                                                  !,
                                                       THAT A "SECOND AGENCY" IS NEEDED WRICH
                                                     \ ---- .




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          IS CHESTERFIELD POLICE DEPARTMENT, TO OBTAIN THE "ADDITIO~AL BUCCAL
          SWAB SAMPLE.

J)_j;:· CHESTERFIELD POLICE DEPARTMENT GOES TO COLLECT "DNA EVIDENCE" (THIS
          COLLECTION OF DNA EVIDENCE WAS ONLY DONE TO OBTAIN AN "ADDITIONAL BUCCAL
          SWAB SAMPLE FROM PETITIONER) NOT AT'THE HARDEE'S WHERE THE CRIME OCCURRED
          BUT AT THE OLD SPAGHETTI FACTORY WHICH IS 70-100 YDS ACROSS THE "MAIN
          ENTRANCE AND A VERY LONG DISTANCE FROM HARDEE'S_WHERE THE CRIME HAD
          OCCURRED. CHESTERFIELD POLICE DEPARTMENT KNEW THAT THIS WAS A'"PUBLIC
          PLACE AND AREA USED BY CUSTOMERS" BUT COLLECTED A EMPTY CAN OF SPARKS
          PREMIUM MALT BEVERAGE AND SEVERAL CIGARETTE BUTTS CLAIMING THAT THE
          SUSPECT.COULD HAVE USED THAT AREA AS A VANTAGE POINT (BUT NEVER STATES
          THAT THE MALT BEVERAGE CAN AND-CIGARETTE BUTTS WERE LEFT BY THE SUSPECT)
          (SEE EXHIBIT #4, pg.__!L ATTACHED HERE-TO)

A).
          NOW CHESTERFIELD POLICE DEPARTMENT SENDS THE COLLECTED DNA EVIDENCE
          (MALT BEVERAGE CAN AND CIGARETTE BUTTS) TO THE CRIME LAB KNOWING THAT
          THE EVIDENCE.WAS-COLLECTED IN A "PUBLIC PLACE AND AREA USED BY CUSTOMERS
          OF THE OLD SPAGHETTI FACTORY (EXHIBIT #4, pg. 10 ) AND NOW THE CRIME LAB
          RULES THAT THE EVIDENCE COULD NOT BE ENTERED INTO CODIS BECAUSE IT {TEiE.
          DNA EVIDENCE COLLECTED) WAS FOUND IN A PUBLIC PLACE AND BECAUSE THE
          EVIDENCE COULD NOT BE ENTERED INTO CODIS, THIS GIVES THE CRIME LAB THE
          AUTHORITY TO RECOMMEND TO CHESTERFIELD POLICE DEPARTMENT TO OBTAIN THE '•
          "ADDITIONAL BUCCAL SWAB :.SAMELE ·,.NEEDED . FROM -PETITIONER" !NORDER TO FALSIFY
          DNA ANALYSIS AND RESULTS AS DESCRIBED IN THE NEWLY DISCOVERED EVIDENCE
          DOCUMENTS. (PETITIONER HAD ALREADY SUBMITTED A BUCCAL SWAB SAMPLE TO
          THE CRIME LAB OF ST.LOUIS COUNTY ON DECEMBER 31,2009)(SEE EXHIBIT #5, .:· ;.         .•


          pg. 11 ;EXHIBIT #12, pg._!!L AND EXHIBIT #13, pg.19 ATTACHED HERE-TO)
 B).                                    -
          ON NOVEMBER_ 5, 2010, CHESTERFIEnDr POLICE~.DEPARTMENT, DETECTIVE ,SIMPSON
          CAME TO SOUTHEAST CORRECTIONAL CENTER AND OBTAINED THE 'tADDITill0NAL BUCCAL
          SWAB SAMPLE FROM PETITIONER AS RECOMMENDED BY THE CRIME LAB AND AS STATED
          IN THE NEWLY DISCOVERED EVIDENCE DOCUMENTS (EXHIBIT #12, pg._!_~_) !NORDER
          TO "CONSPIRE" WITH .TOWN AND COUNTRY POLICE DEPARTMENT AND ALSO ST.LOUIS
          COUNTY CRIME LAB (SEE EXHIBIT #6, pg. 12 ATTACHED HERE-TO)

 *        A CAREFUL REVIEW OF THE ST.LOUIS COUNTY EVIDENCE SHEET "REVEALS" THAT

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      THE DNA SAMPLE COLLECTED FROM PETITIONER BYSCl!IES!.FERBlEI:.DFfGLICE DEPARTMENT,
      DEl'ECTIV.K;SIMBSON WAS TO BE USED FOR DNA CASE #09,.;D260 WHICH IS TOWN AND
      COUNTRY POLICE DEPARTMENT (SEE EXHIBIT #6, pg. -12 ATi:~IBEIEz;BO'iffiOM OF THE
      DOCUMENT WHERE PETITIONER HIGHLIGHTED)


4).
      THERE NEVER WAS A "SINGLE PHOTOGRAPH WITH WITNESS SIGNATURE AND DATE
      ON THE BACK" AS CLAIMED BY CHESTERFIELD.POLICE DEPARTMENT IN THE
      POLICE REPORT AND BY THE PROSECUTOR AT THE GUILTY PLEA HEARING\(SEE           c·


      EXHIBIT fl, pg •..1,3_ AND EXHIBIT #8, pg •.:li_ ATTACHED HERE-TO) r.,<. ; .
A).
      ON AUGUST 2,20.17, PETITIONER SENT A REQUEST TO ST.LOUIS COUNTY
      PROSECUTING ATTORNEY'S OFFICE FOR THE "SINGLE JHOTOGRAPH WITH WITNESS
      SIGNATURE AND DATE ON THE BACK" IN CASE NUMBER #10SL-CR09241, fETITIONER
      SENT REQUEST PURSUANT TO MISSOURI SUNSHINE LAW, CHAPTER 610.RSMo (SEE
      EXHIBIT #9, pg.15 ATTACHED HERE"".TO)
B).
      ON AUGUST 7,2017, ST.LOUIS COUNTY PROSECUTING ATTORNEY'S OFFICE RESPONDED
      TO PETITIONER'S MISSOURI-SUNSHINE LAW REQUEST AND STATED:

                             ON AUGUST 4, 2017, THIS. OFFICE .RECIEVED_ YOUR
                             LETTER PURPORTING AS A "SUNSHiNE LAW" REQUEST
                             FOR A PHOTOGRAPH REFERRED TO IN THE POLICE
                             REPORT AND AT YOUR PLEA OF GUILTY. PURSUANT
                             TO MY APPOINTMENT AS ACTING CUSTODIAN OF
                             RECORDS,· I HAVE CONDUCTED A REVIEW OF OUR
                             RECORDS AND EVIDENCE. [NO SUCH PHOTOGRAPH
                             IS CONTAINED IN OUR RECORDS AND WE HOLD NO
                             SUCU EVIDENCE] ~SEE EXHIBIT #10, pg.16}

*     AS PETITIONER HAS SHOWN, THIS CASE WAS ABOUT OBTAINING AN "ADDITIONAL
      BUCCAL SWAB SAMPLE FROM PETITIONER TO CONSPIRE TO FALSIFY DNA EVIDENCE


*     PETITIONER HAS BEEN TRYING TO GET THE RESF0NDENT, STATE OF MISSOURI


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        TO "DISCLOSE THE SINGLE PHOTOGRAPH WITH WITNESS SIGNATURE AND DATEft
        ON THE BACK SINCE "2012"' ••••• AT ONE POINT THE SENTENCING _COURT JUDGE
        RIDLED THAT: ''A CLAIM THAT COUNSEL WAS INEFFE~TIVE FOR FAILING TO FILE
        AND LITIGATE A MOTION TO SUPPRESS STATEMENTS WOULD NOT BE COGNIZABLE •••
        PETITIONER'S MOTION WAS ABOUT DISCLOSING PHOTOGRAPHS AN_D "NOT" ABOUT
        SUPPRESSING STATEMENTS (SEE EXHIBIT #11, pg.17 ATTACHED HERE-TO)THAT
        ALSO INCLUDES "ALL" THE DOCUMENT(S) PETITIONER.HAS FILED OVER THE.YEARS
        TRYING TO GET THE RESiB0NDENT, STATE OF MISSOURI TO DISCLOSE THE "SINGLE
        PHOTOGRAPH WITH WITNESS SIGNATURE AND DATE ON THE BACK" IN CASE NUMBER
        #10SL-CR09241 ••••••

*       RESPONDENT, STATE OF MISSOURI HAS EVEN WENT TO THE POINT OF TRYING
        TO "CHANGE THE CASE NUMBER" FROM CASE NUMBER #10SL-CR09241 TO
                             -
        CASE NUMBER #10SL-CR0890241
                              .
                                    BY.ADDING THE NUMBER (8)(SEE EXHIBIT #14,
        pg.20 WHERE IT SHOWS THE DIFEERENT CASE NUMBERS HIGHLIGHTED ••••


        THE QUESTION PETITIONER IS ASKlNG'::YOU:;.YOUR~:JIONO]J., IS::.:
1).
        IF THERE IS EVIDENCE OF INNOCENCE RIGHT IN FRONT OF YOU F:ROMJArCASE
        THAT IS NOT BEING PRESIDED OVER BY ANYONE AND THAT CASE IS OBVIOUSLY
        CONNECTED TO THE CASE YOU ARE PRESIDING OVER, DOES THE HABEAS COURT
        HAVE THE POWER TO ISSUE A WRIT WITHOUT-A PETITION AND OVERTURN THAT
        CONVICTION AS WELL BASED ON THE EVIDENCE ·PRESENTED AND'.L'THE EVIDENCE
        IN THE CASE YOU ARE PRESIDING OVER THAT "SHOWS" THE CONNECTION BETWEEN
        THE TWO (2) CASES?

2).
        IF YOU HAVE EVIDENCE AND REASON TO BELIEVE THAT A INNOCENT PERSON IS:
        INCARCERATED AND THE. RES·PONDENT, STATE OF MISSOURI HAS FAILED TO
        DISCLOSE.EVIDENCE OVER THE YEARS AND THIS DISCLOSURE WOULD AIDE IN
        PROVING THAT A LAW ENFORCEMENT AGENCY IS PART OF A CONSPIRACY TO
        FALSIFY INFORMATION AND EVIDENCE !NORDER TO 0BTAIN.i.A~:''DNA:~SAMPI:E~ :ER0H
        A PETITIONER TO HELP OTHER LAW ENFORCEMENT AGENCIES FALSIFY DNA ANALYSIS
        AND RESULTS, WOULD YOU GRANT THE PETITIONER A SUBPOENA TO HAVE THE
        DOCUMENTS/EVIDENCE DISCLOSED?


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      •
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3).
          IF YOU HAVE REASON TO BELIEVE THAT A PETITIONERS COUNSEL WILL NOT,
          DID NOT REQUEST OR SUBPOENA EVIDENCE THAT YOU HAVE FIRST HAND KNOWLEDGE
          OF AND COULD PROVE THAT A "CONSPIRACY" EXISTED, WOULD YOU ALLOW THAT-
          PETITIONER TO SUBPOENA THE DOCUMENT/EVIDENCE (SINGLE.fFH0TOGRARtl), SINCE
          YOU HAVE KNOWLEDGE OF THE CIRCUMSTANCES?


          BASICALLY, PETITIONER IS BETWEEN A ROCK AND A HARD PLACE. I AM TRYING
          MY BEST TO GET THE EVIDENCE I NEED TO PROVE MY INNOCENCE AND THAT A
          CONSPIRACY EXISTED,.THAT CONCERNS CHESTERFIELD POLICE DEPARTMENT FALSIFYING
          INFORMATION AND EVIDENCE !NORDER TO OBTAIN A "DNA SAMPLE" FROM PETITIONER
          !NORDER TO CONSPIRE. WITH TOWN AND COUNTRY POLICE DEPARTMENT AND ALSO
          ST.LOUIS COUNTY CRIME LAB TO FALSIFY DNA ANALYSIS AND REPORTS. I AM 100%
          SURE THAT MY COUNSEL IS NOT AND HAS NOT REQUESTED THE "SINGLE PHOTO WITH
          WITNESS SIGNATURE AND DATE ON THE BACK" IN CASE NUMBER #10SL-CR09241.
          BECAUSE HE (MY COUNSEL) IS OUT IN CHESTERFIELD •••• so PLEASE YOUR HONOR,
          I REQUEST THAT YOU "DO NOT" RULE ON THE ABOVE CASE AS OF NOW AND LET
          ME HAVE MY DAY IN COURT TO PROVE THAT A CONSPIRACY EXISTED AS I HAVE
          PROVEN TO YOU BY WAY OF THE DOCUMEN'il'$;~ANDi=EVIIDENCEFATTACHED HERE-TO) •••

  * .-.
          A RESPONSE IS REQUESTED




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                                   EXHIBIT #1=======+
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------------:::-:-_   -•.•---,---
            Case: 4:14-cv-00411-AGF
     P:mted By/ Reason: #carjg1 / MO PA STLCO                                                     Doc. #: 85 Filed: 09/05/18 Page: 8 of 83 PageID #: 703
                                                                                                                                                                          9-5561


                                                                                 .          ADDITIONALPARTY INFORMATION                 ;                 .,.              \. \
     Person Role(s)                                                             REPORTING PARTY
     . Pe.-on lnfonniltlorii•:                                          . ·,,. '(
     Last Na,.:,,e ·· ·                                                 · · ·PARKHURST                          Middle Name                 SUZETTE
     First Name                                                            TAMARA                               Suffix Name
                                                                            XXX-XX-XXXX                         Ethnicity                   NOT OF HISPANIC ORIGIN
     SSN
     License Number                                                         J050050002                        · License State               MISSOURI
     Race                                                                   WHITE                               Sex                         FEMALE
      DOB                                                                   08/19/1961                          Age                         48
      Resident Status                                                       NON-RESIDENT
      Additional Info
      Employer                                                                 HARDEE'S                         Occupation                  GENERAL MANAGER
       BUSINESS Address ·
      Street Address                                                           17368 CHESTERFIELD AIRPORT       ApUSuite/Rm #
                                                                               ROAD
      City                                                                     CHESTERFIELD                     State                       MISSOURI
      Zip                                                                      63005                            Location Desc.              HARDEE'S
           ~9"1E_~~s,;~='.;:•/: .·::_,.._;,
       Street Address              1403 AMBER WAVE DRIVE       Apt/Suite/Rm #
       City                        O'FALLON                    State                                                                        MISSOURI
       Zip                         63366                       Location Desc.
        BUSINESS.Phone::
        '.; ·• ,,.•=• •
                         : ,i:· ..              •.s.•.    ·.,,.,   ·•      •


       Area Code                   636                         Contact Name.
       Phone#                      ,36-5072                    Ext.
       Email Address
                                              .    INCIDENT PROPERTY TOTALS



       Relative to the original report in which Hardee's was robbed by a male
       armed with a gun, .I wish to state:

        I learned of information that two suspects identified as Andre Williams
        and Mark Leachman had been arrested for robbing area restaurants and had
        active investigations in St Louis City, Town & Country and Maplewood.
         Since the robber(s) showed knowledge of when the restaurant employees
        arrived and the business operation, I telephoned the store GM, Tamara
        Parkhurst who checked to see if either individual had worked there.
        Parkhurst informed me that they had no record of Leachman ever working
        for Hardee's, however Williams had worked at the Chesterfield Valley
        location from 11/06/2008 till 02/15/2009.

       Since Williams had been identified in other restaurant robberies and used
        to work at the Chest~rfield Bardee's, I prepared ap:J.:i.g1:o_l~n~-~P, using
       _th~ -/~,l:!_~:t'9fJine~,1Matrc:i.x •1-;~g,~.l{l~~s,gurc ~,, i~t;Rf~~@:•t:i,9.i:1! ,:~fii,.i~t.\'{(~iR!:i:s,>);f                                         1~:!n!i~U'.P.U
      i.;:iinit§:~,;:,• :Drl:;9!3.i5.8:t as follows :
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        Photo# 2                                                                                              Tracking# 35868046
        P:g.e,~o # 3                                                                                          Tracking# 28123582
        Photi:o # 4                                                                                           Sex Off # 4002
        Photo # 5.                                                                                            Sex Off# 968
                                                                                                                                                                         Page 13 of26
•
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                                     EXHIBIT #2   ========•
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      Photo# 6                                Tracking #23338106

     'fhe photos were printed out as 3 }~" ~ 5" photos and cut into in,di vidual
     photos s~ that they can be placed in random order for viewing.     Refer to
     the department Photo Lineup Worksheet for additional information as to
     the presentation of photos.

     On Saturday, 01/09/2009 PO Zeus Hernandez, DSN 255 responded. to
     Hardee'sl7368 Chesterfield Airport Rd where he met with Victoria Pluma.
      Pluma works in the kitchen at Hardee's and walked into the restaurant
     as the suspect was robbing the store.. She also observed the same person
     walking around on the parking lot of the restaurant just prior to the
     robbery.

     Pluma only speaks Spanish and Officer Hernandez speaks English and
     Spanish fluently.  Officer Hernandez explained the photo .lineup
     process to Pluma. Refer to the department witness prepa.ration form
     for additional information.   Officer Hernandez showed Pluma each photo
     individually and one at a time. After viewing the photos, Pluma
     identified photo# 4 (~.ndre Willia.IILB) as the person she saw on the
     parking lot just prior to the robbery.     This is also the same person she
     saw in the restaurant ·at the time of the robbery wearing the ski mask.
     Both people were wearing the exact ~a.me clothing. ·officer Hernandez had
     Pluma sign and date the back of photo# 4 indicating her identification
     of the photo.
                                                   1

     cigarette butts and a liquor cqn seized nearby the Hardee's where a
     suspect could have waited and watched for employees to arrive, had
     been previously seized as evidence.   These items were sent to the St
     Louis County Police crime laboratory for testing along with the suspect
     information on Williams and Leachman.   I also learned that Williams was
     currently in custody at the St Louis Criminal Justice Center_ on Tucker
     Blvd and that Leach.man was in custody.at the St Louis City Work House on
     Hall St.

     This investigation is continuing.




                    EXHIBIT CONTINUED      NEXT   PAGE=======•




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                     Li-1£~ rr!-t'I~LD P(?LIC·E DEPAR.TMENT' l'H.OTO L~NE~
         Case#       09-5561       Viewed By:             \/,'c,.fu                  ['0L                    :Pf 1          )yYJ           a                 Detective:              Eb - hka.Y/Ci ,;44·2 - ·v·'
         Comments:
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      ;\
                                                 CHESTERFIELD POLICE DEPARTMENT
                                                                     PHOTO UNEUP WORKSHEET

                                                                                     Report information

                                  Complaint Number
                                                                                                                                /$,
                                                        Nature

                                                Case officer

                                                                                                                                                        ... '               .. ,. ····..:.... :•
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    Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 13 of 83 PageID #: 708




                                    EXHIBIT #3=======•
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-,.:::;,.    .    Case: 4:14-cv-00411-AGF Doc. #: 85 Tracking
            Photo# 6
                                                      Filed: 09/05/18 Page: 14 of 83 PageID #: 709
                                                                  #23338106

            The photos were printed out as 3 ½" X 5" photos and cut into individual
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            for additional information. Officer Hernandez showed Pluma each photo
            individually and one at a time. ,After viewing the photos, Pluma
            identified photo# 4 (Andre Williams) as the person she saw on the
            parking lot just prior to the robbery. This is also the same person she
            saw in the r~staurant ·at the time of the robbery wearing the ski mask.
            Both people were wearing the exact same clothing. Officer Hernandez had
            Pluma sign and date the back of photo# 4 indicating her identification
            of the photo.

            Cigarette butts and a liquor c~n seized nearby the liardee's where a
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            Louis County Police crime laboratory for testing along with the suspect
            information on Williams and Leachman.  I also learned that Williams was
            currently in custody at the St Louis Criminal Justice Center on Tucker
            Blvd and that Leachman was in custody.at the St Louis City Work House on
            Hall St.

            This investigation is continuing.




                                                                                                Page 14 of 26
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    Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 15 of 83 PageID #: 710




                                    EXHIBIT #4 ======== •
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.                                                                 EXHIBIT CONTINUED NEXT PAGE ....
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         ·                                                             INCIDENT PROPERTY TOTALS                                                                                          .
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     ,                                                      PROCEDURE INFORMATION
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    Teletype MtH,SllfJe
    TeletypelReferenco #                                                                         Entered By
             ·        . .... .      . . .       ...          ..     .. .     ..     . NARRATIVE                    .        .. .               .     .. ... ..         . .. .. .              --- .


    In re·ferenoe to Chesterfield Police Report Number 09-5561, I wish to
    state the following. At approximately 0535 hours, on Saturday, November
    14, 2009, X responded to 17368 Cheste.rfield Airport Road to process the
    scene of a Robbery First.

    The following photographs were taken at the soene uitlizing a department
    issued Nikon D50 Digital SLR camera. The photographs were later
    downloaded into the Chesterfield Police Department•s Crime Scene computer
    file.

    Photo 1 Cover sheet
    Photo 2-4 Overall, midrange, close-up of location address
    Photo 5-12 Overall exterior of business
    Photo 13-14                      Entrance to business
    Photo 15-17                      Interior of business from entrance
    Photo 18-31                      Overa~l, midrange, and close~ups of cash drawers
    Photo 32-34          Overall, midrange and close-ups of safe
    Photo          35-38 Interior of safe
    .Photo         39-42 Photos taken towards the west looking at Spaghetti Factory
    Photo          43-46 Area with bench and ashtray
    Photo          47 Sparks can of energy drink
    Photo          48-50 Ashtray and cigarette butts

    A search for latent evidence met with negative results.

    The following items were seized and packaged as e~idence and turned over
    to the Chesterfield Police Evidence custodian for safe keeping:

    Item l              l 16 fluid ounce (empty) aluminum can of Sparks Premium Malt
    Beverage
    Item 2              4 Camel cigarette butts
    Item 3              2 Pall Mall cigarette butts
    Item 4              2 Marlboro cigarette butts

    According to a witness the suspect was seen walking easterly across
    the Hardee's parking lot. This direction meant he came from the west.
    Across the main entrance to the shopping complex to the west is the Old
    Spaghetti Factory Restaurant at 17384 Chesterfield Airport Road.


                                                                                                                                                                                             Page7of35



                                                                                                                              Respondent's Exhibit F
                                                                                                                                  Williams v .. Wallace
                                                                                                                         Case No. 4:14-CV-0412-SNLJ
      Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 17 of 83 PageID #: 712



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Lt. Tucker discovered an alcove ta the east of the main entrance of
the Old Spaghetti Factory which contained a cement ~ench and a cement
ashtray. This area i1;1 used by cuatomers while waiting.for seating. On
the ashtray was an almost empty can of Sparks Premium Malt Beverage and
several cigarette butts. It is possible that the suspect could have used
the bench in the alcove as a vantage point to view the arrival of the
Hardee Employees.

Photos numbers 39 through 50 we):"e taken for this reason. I seized the
Sparks Beverage can and samples of some of the cigarette butts from
the ashtray. These items were placed in evidence for safe keeping.
These items can be sent to the lab at a later date for DNA Testing and
fingerprinting of the can, if it is determined hy the investigating
detective that the.se items are of such e-videntiary value.




                                                                             Page 8of35




                                                          Respondent's Exhibit F
                                                              Williams v. Wallace
                                                     Case No. 4:14-CV-0412-SNLJ
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    Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 18 of 83 PageID #: 713




                                   EXHIBIT #5 =========+
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      •            Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 19 of 83 PageID #: 714



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          Lafl! Namo                         WILLIAMS                  Middle Name
          Fir5;t Name                        ANDRE
          R~co                               BLACK                     DOB                 12/24/1969
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          Application Dato                       02/0912010                        Prosecutor Name   JACK DUEPNER .
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          Clrnrge Desc. ff.•1                                ROBBERY 1S'f DEGREE
          Dlspo~1itlm1                                      WARRANT ISSUED
          Am0nrJed Charge
          Cllf.l.rge D(}sc.   tn                 ARMED CRIMINAL ACTION
          DisposlUon                             REFUSED           .
          Amended c11arge




          In reference to Chesterfield Police Report #09-5561, wherein a robbe:ry
          occurred at Hardee's, 17368 Chet:Jter:fia°ld Airport Road, I wish to report
          th,.elfollowing:

          A~ noted in Supplement #7, net. James ~arroll, .DSN 220, applied for
          warrants against tl:ie suspect, Andre Williams, with the-St. Louis County
          Prosecuting Attorney's Office on February 9, 2010. At that time, Chief
          Warrant Officer Jack Duepner took the case under advisement pending
          laboratory analysis of DNA evidence.

+.,       In July, 2010, Det. Carroll learned that the-crime lab was able to
          extract DNA profiles from the cigarette butts and malt beverage can found
          at . a nearby
                     .                       - CODIS policy, the lab is unable
                        restaurant. However; -oer                                          .

          to enter this DNA profile into the CODIS system because the evidence was
          found in a public place, The lab recommended obtaining a buc~al swab
          from Andre Williams to compare the DNA profiles from the evidence to him.

~ On Monday,. August 2, 2010., Dat. C~rrol+ sent an em~il to Mr. Duepne:r
  advising him of the laboratory results and the recommendation provided by
  the lab.

          It should be ~oted'that Det. Carroll retired from the Chesterfield Police
          Department on Friday, August 13, 2010, at which time I began conversing
          with Mr. Duepner regarding this case.

          on T:q_µ~~q~y: ..,;...Q.c.tober 14, 2 01\l, I received notification from Mr. Duepner
          ·that ihe. issued                   against Andre Williama f9r ol'ie count of Robbery
                                                                                                                                Page 30 of35




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Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 20 of 83 PageID #: 715




                             EXHIBIT #6==========f).
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                             to the original offense, "Robbery                         Degree",
              advised of the following relative new information.

              On 11/05/2010, I responded to the southeast Correctional Center for the
              Missouri Department of Corrections; locatad in Charleston, Missouri.
              The purpose of the trip was to obtain a DNA sample from Suspect DeAndre
              Darrough aka Andre Williams.

              On arrival at the facility I contacted ·,suspec~ Darrough, and explained
     Ir       the reason for my visit. Suspect Darrough st~ted that he was willing to
              provide a sample of his DNA. Suspect Darrough signed a "DNA Consent" form
 .    ;
              that I seized as evidence •

              Two buccal swabs of salvia was obtained from Suspect Darrough and placed
              into evidence to await transfer to the St. Louis County Crime Laboratory.

              End of report
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                                                EXHIBIT CONTINUES NEXT PAGE=~======•




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           Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 24 of 83 PageID #: 719
• .ehoto   # 6                               Tracking #23338106

 •.rhe photos were printed out as 3 %" X 5 11 photos and cut into individual
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 Blvd and that Leachman was in custody.at the St Louis City Work House on
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 This investigation is continuing.




                                                                                        Page 14 of 26




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Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 25 of 83 PageID #: 720




                               EXHIBIT #8 ==========+

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                                    EXHIBIT #9     ==----- •
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         Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 31 of 83 PageID #: 726
..

          1   on or about November 14th, 2009 at 17368 chesterfield
          2   Airport Road, county of St. Louis, state of Missouri,
          3   the defendant forcibly stole u.s. cur r·ency in the
          4    possession of Hardee's and, in the course thereof, the
          s · defendant displayed what appeared to be a deadly
          6   --weapon.
          7                      Your Honor, the testimony at trial would
          8    be that the defendant entered Hardee's, his face was
          9    covered, and that he produced what appeared to be a
         10    pistol, handgun, and demandad money from the safe.                    An
         11    employee surrendered the money to the defendant and
         12    gave police a description, clothing description, and
         13    other description of the individual.
         14                      Testimony w~uld be that Victoria Kluma,
         1s    that she identified the defendant in a photo lineup and
         16    that she gave a description to the police of the
         17    clothing of the individual she saw outside Hardee's and
         18    then enter Hardee's and then come outside of Hardee's
         19    once the money was taken.           And that was the defendant,
         20   Mr. Andre Williams.
         21   QUESTIONS BY      THE   COURT:

         22               Q.     Mr. Williams, is what the prosecuting
         23   attorney said substantially true and correct?
         24               A.     Yes.
         25               Q.     Has anyone made you any promise or have


                                                 Page 75
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                          .· t Reason: #carjg1 / MO PA STLCO
                               Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 32 of 83 PageID #: 727
• -- J?hoto # 6                                                     Tracking #23338106

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           -                                       -           -
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           robbery.                  ________________ -- - --------------- · · -------
-·   --------- -··- - .   ..
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           Cigarette butts and a liquor c~n seized nearby the Hardee's where a
           suspect could have waited and watched for employees to arrive, had
           been previously seized as evidence.   These items· were sent to the St
           Louis County Police crime laboratory for testing along with. the suspect
           information on Williams and Leachman.   I also learned that Williams was
           currently in custody at the St Louis Criminal Justice Center on Tucker
           Blvd and that Leach:man was in custody.at the St Louis City Work Eouse on
           Eall St.

           Thia investigation is continuing.
                                                                                           ---- ------------ - - - - - - ~ - - -
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         -- ------ ------------~-----




                                                                                                                Page 14 of 26
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                                   EXHIBIT #lO=========lf-

                                       16
                    Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 34 of 83 PageID #: 729
 •
                                                OFFICE OF PROSECUT~NG ATTORNEY

                                                          St. Louis County Justice Center
          ROBERT P. MQCULLOCH                                100 South Central Avenue                     (314) 615-2600
           Prosecuting Attorney                       ST. LOUIS COUNTY, MISSOURI 63105      R_elayMO 711 or 800-735-2966




                                                            August 7, 2017
---·------~-- -   --·-------. --   -- - - - - - - - - - - - - - - - - - - - - - -

        Mr. Andre-Williams -Sr.
        #525828
------S~butheast Corre~ti6hal Center~------
        300 East Pedro-Simmons Drive
        Charleston, MO 63834


                            On August 4;,     2017,   this office received your letter
                    :e_llrportj_;n~ as a "Sunshine Lawllrequest for a photograph referred
                    to in the police report and at your plea of guilty.       Ptlrsuarit to
                    my appo:i,ntment as acting custodian of records, I have coriducted
                    a review- -or our-- --re-cor"ds and evidence. - No such photograph is
                    contained in our records and we hold no such evidence.




                    JDE:bb
                 Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 35 of 83 PageID #: 730
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OFFICE OF PROSECUTING     x..~'TORNEY
       ROBERT P. M~CULLOCH
         PROSECUTING ATTORNEY
           100 South Centrai Avenue
           Clayton, Missouri 63105    ·                                              ' ! 1i   )   \ ~-,   • ;   l ' . i;   :, :   j.




                                              Mr. Andre Williams .Sr.
                                              #525828
                                              South~det Correcticnal Center
                                              300 Fast Pedro--Sirnr1ons Drive
                                             .Charlescon, MO 63834



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Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 36 of 83 PageID #: 731




                               EXHIBIT I 11---------. .

                                   17
     *   REVIEW THE NEXT (33) DOCUMENTS IN THIS EXHIBIT ALONE
Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 37 of 83 PageID #: 732
         IT WILL SHOW THE COURT PETITIONERS DUE DILIGENCE AN
   ,1<:a:..THE RESPONDENTS FAILURE TO DISCLOSE "SINGLE PHOTO"
4ti:;:;;::,_:. "l
                                                     INTHE
                            CIRCUIT COURT OF ST. LOUIS COUNTY, MJSSOURl


                                                         )
                                                         )
                              Movant,                    )
                                                         )              Cause No. 12SL-CC00216
  V.                                                     )              Hon. Mark D. Seigel
                                                         )              Div.3
  STATE OF WSSOURI,                                      )
                                                         )
                              Respondent.                )


  REQUEST FOR THE.. COURT TO ORDER THE STATE TO DISCLOSE LINEUP
                     PHOTOGRAPHS FROM THE UNDERLYING CRThfiNAL CAUSE


                    Mr. Williams, movant, respectfully requests this Court order the St. Louis County
 Prosecuting Attorney's Office to disclose to undersigned counsel any photographic arrays
 showrMs. Victoria Pluma from the underlying criminal cause, St. Louis County Caus~
 No. I0SL-CR089241-0l. To explain this request, Mr. Williams states
                    I. Mr. Williams was charged with first-degree robbery in St. Louis County Cause
 No. i0SL-CR089241-0l. The state accused him of forcibly stealing money from
 Hardee's and displaying what appeared to be a deadly weapon;
                    2. The state provided discovery to Mr. Williams' plea counsel. That discovery
  included a color copy of a photographic lineup array. Sffe Exhibit 1, attached. The sheet
  did not contain any signatures, front or back;
                    3. Accord_~g; to pol~ce reports al~pprovided to plea counsel, a Hardees employee,
_ Ms. Victoria Pluma, was shown a photographic lineup. It contained Mr. Williams'
 photograph. After looking at the lineup, Ms. Pluma identified Mr. Williams as the robber
  and signed and dated the back of Mr. Williams' photograph. Ms. Pluma also signed a
Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 38 of 83 PageID #: 733


Chesterfield Polrce Department Photo Lineup Eyewitness Identification Witness

Preparation Farm. See Exhibit 2, attached;
       4. The copy of the photographic array provided to plea counsel did not contain any
signatures, front or back; therefore, it could not have been a copy of the array viewed by
Ms. Pluma;
       5. Mr. Williams alleged in his prose Rule 24.035 motion that counsel had not
alerted the court that Ms. Pluma's purported signature on the photographic array did not
match her signature on the bottom of the Witness Identification Form;
                                                            I

       6. Therefore, undersigned counsel is obligated to investigate this issue. But
counsel cannot do so without the photographic lineup array shown Ms. Pluma, or a fair
and accurate reproduction of it;
       WHEREFORE, Movant Andre Williams, Sr. respectfully requests this Court order
the St. Louis County Prosecuting Attorney's Office to disclose to undersigned counsel any
photographic arrays shown Ms. Victoria Pluma from the underlying cijminal cause, St.
Louis County Cause No. IOSL-CR089241-0l.


                                          Respectfully submitted,




                                          Lisa M. Stroup, Mo Bar No. 36375 ,,
                                          Attorney for Movant           \___.
                                          10 IO Market Street
                                          Suite 1100
                                          St. Louis, MO 63101
                                          Phone 314-340-7662
                                          Fax 314-340-7685
                                          E-Mail Lisa.Stroup@mspd.mo.gov


                                     Certificate of Service.
I certify that on this the 5th day of September, 2.012, that a tme copy of the above and
foregoing was sent qy fax transmission to th.e St Louis County Prosecuting Attorney's
Office, 100 S. Central, Clayton, MO 63105:· · ·                                      ·

                                       ' ~ ~ /(YY) 0~-:r:-~
                                          Lisa M. Stroup         .            c.J
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           /      Case: 4:14-cv-00411-AGF
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                    CIRCUIT COURT .                                                                                                      r     For FIie Stamp Only.. .   l.
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                    Plalntiff(s).-

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 Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 40 of 83 PageID #: 735


                           /l.ppe!late/PCR Division
                           1O1OMarket Street - Suite 1100
                           St. Louis, Missouri 63101
                           Telephone: 314-340-7662      Fax: 314-340-7685




 October 5, 2012


 Mr. Andre Williams, Sr. #525828
 Southeast Correctional Center
 300 East Pedro Simmons Drive
 Charleston, MO 63 834

 Re:     Your August 29, 2012 letter
         Andre W.iliiams, Sr. v. State of Missouri
         Case No. 12SL-CC00216

=-Dear Mr. Williallls:

        Regarding_your August 29, 2012 letter: In future, I will only respond to reasonable requests for
 information from you.                                                               ".

          Here is an update on your case since my last letter:
          After I asked him,·theprosecutorrefusedto·:give me a copy_ofthe backside of the lineup photo,
 so I filed a 11 Request for the Court to Order the State to Disclose Lineup Photographs from the
 Underlying Criminal Cause 11 on September 5, 2012. I attended conferences before Judge Seigel with the
 prosecutor in this case on September 7, 20, and 27, 2012. I also provided Judge Seigel and the
 prosecutor with the following cases because the judge wanted to know -- where a movant has pleaded
 guilty -- if counsel's failure to file and litigate a suppression motion can, be raised as a Rule 24.035
 claim: Stackerv. State, 357 S.W.3d 300 (Mo. App. S.D. 2012); May v .. State, 309 S.W.3d 303 (Mo.
 App. E.b: iblO); and State v. Hunter; 840 S.W.2d 850 (Mo. bane 1992).

           Unfortunately, t~H~.3.~4ge~_d~nied the motion fo,~_yb.e"lineup _pho_tograph beca~se His .Honor decided
  sµch:-a clairµ:-,c_qµld~notbe.raised.in,a:Itule +4~0}?·case. Because I respectfully disagree with the judge, I
. plan to· .ralie''the claim a:nyway.     . . . ·-"   -

        With this letter you are receiving copies of the request for the lineup photo and the court
 memoranda from September 7, 20, and 27.
 Sincerely,



 Lisa M. Stroup
 Assistant Public Defender




                                  www.publicdefender.mo.gov
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•


                          IN THE CIRCUIT COURT OF ST. LOUIS CITY
                                    STATE OF MISSOURI

    STATE OF MISSOURI,_                            )
                                                   )
                                                          Cause No.      \00V~isCAM
                                                                         '
                                                                                    /✓O/
                 Plaintiff
                                                   )
                                                   )
                                                          Division No. 00 ·
                                                                              FILED
                                                   )                                   JUL 2 7 2011
                                                   )
                                                   )                                   JOAN M. GILMER
                                                   )                             CIRCUIT CLERK, ST. LOUIS COUNlY



                             DEFENDANT'S REQUEST FOR DISCOVERY

             Comes now defendant, by and through counsel, and hereby requests the following
    discovery pursuant to Missouri Supreme Court Rules 25.01, 25.02, 25.03, 25.04, 25.07, 25.08,
    25.16, (and RSMo. 565.005 if defendant is charged with murder) and defendant's rights to a fair
    trial, due process, equal protection, reliable sentencing, effective assistance of counsel,
    confrontation, impartial jury from a fair cross section of the population, against self
    incrimination, against unreasonable searches and seizures, and against cruel and unusual
    punishment guaranteed under the Fourth, Fifth, Sixth, Eighth and Fourteenth Amendments to the
    United States Constitution and Article I Sections 2, 10, 15, 18(a), 21 and 22(a) of the Missouri
    Constitution:

            1. The names and the last known addresses of persons whom the State intends to call as ,
    witnesses at any hearing or trial, together with their written or recorded statements and existing
    memoranda reporting or summarizing part or all of their oral statements;
            2. Any and all wr_itten or recorded statements and the substance of any oral statements
    made by the defend.ant or by the cod~fendant, a Hst of witnesses to the making, and a list of
    witnesses to the acknowledgment of such statements and the last known addresses of such
    witnesses;
            3. Those portions of any existing transcript of grand jury proceedings which relate to the
    offense with which defendant is charged containing testimony of defendant, codefendants,
    persons whom the State intends to call as witnesses at any hearing or trial, and any other persons
    who offered information related to the above cause before the grand jury that was transcribed;
            4. Any existing transcript and recording of the preliminary hearing or any prior trial in
    defendant's case if such is in the possession of the State or available to the State; ·
            5. Any reports, notes, recordings of statements of experts made in connection with this
    case, including, but not limited to, the results of any type of physicai mental, scientific, forensic
    and/or DNA testing conducted regarding this case or the defendant and all underlying data, notes,
    correspondence and reports of such experts;
            6. Any books, papers, documents, photographs or objects which the State intends to
    introduce into evidence at any time or which were obtained from or belong to the defendant;
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          7. Any record of any prior criminal convictions of persons the State intends to call as
witnesses at any hearing or the trial;
          8. A written statement by counsel for the State setting fourth all facts relating to the time,
place and persons conducting any type of photographic or electronic surveillance relating to this _
charged offense;
         9. A. ny material or infom1ation within the possession or controi of the State or its agent
which tends to negate the guilt of the defendant as charged, mitigate the degree of the offense
charged, or reduce punishment;
          10. Should the defendant notify the State of its intent to rely upon any mental disease or
defect defense or mitigation, or the defense of alibi, the defendant specifically requests the names
and addresses of all witnesses the State intends to call as rebuttal witnesses, together with copies
of any of their notes, memoranda, recordings; correspondence, documentation, anything upon
which they relied in their analysis or conclusion, anything they obtained for review in connection
with this case, any protocols pertaining to their work in this case, any training materials upon
which they rely in their work in this case;
          11. The statements of all persons who have been interviewed by an agent of the State in
connection with the subject matter of this cause and whom the State de>es not presently intend to
call at trial together with their names and last known addresses;
          12. The memoranda, notes and summaries of any oral statements made to an agent of the
State by any person in connection with the subject matter of this cause whether or not:
                 a. the statement, is in writing, has been signed or approved by the witness, and
                 b. the statement relates to the proposed subject matter of the direct testimony of
                    the witness at trial;
         13. The statements of persons, notes, memoranda and recordings of any oral statements
pertinent to the subject matter of this case whether or not made to an agent of the State;
         14. Any memoranda, documents, notes and statements used by the State during the
investigation of this case;
         15. The names and addresses of all persons who may have some knowledge of the facts
of the present case;
         16. All reports, notes, memoranda and documents prepared on behalf of the State or
otherwise used in connection with the investigation of this case;
         17. All reports, notes, documents, memoranda and any other data in the hands of the Sate
and its agents in connection with the subject matter of this case, the defendant and codefendants;
         18. Statements of any person or persons which were shown, read, played or paraphrased
to the defendant during any interrogation or interview conducted by any member of any law
enforcement agency;                                                                      _
         19. Current or most recent addresses and telephone numbers, known to law enforcement
agencies, of all persons interviewed in the course of the jnvestigation of the incident;
         20. Copies of booking slips of the defendant prepared pursuant to his arrest in this case;
         21. All press releases prepared by any law enforcement agencies relating to the
defendant, the codefendants, this case, the incident and the investigation;
         22. Copies of all 911 tapes, and other police radio calls or dispatches reflecting the initial
call for assistance to and through those reflecting the arrest of the defendant and the
co defendants;
         23. Notice of the State's intent to use DNA evidence and the name of the lab conducting




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    any DNA testing, and the type of DNA testing which was conducted;
            14. · Alfmemoranda, notes, documents, and reports to, from and between law
    enforcement officers connected with the subject matter of this case;
            25. All memoranda, notes, documents and reports to, from and betw~~P- tl:ie ipyestigative . - . -
    staff of the prosecution, excluding-those portions, if any, which contain the opinions, theories, or
    concl~sions of the prosecuting attorney or members of his/her legal staff, unless such opinions,
    theories or conclusions are otherwise discoverable;
            26. The criminal records, including but not limited to, prior arrests and any list or
    summary reflecting criminal records of all persqns whom the prosecution intends to call as a
    witness at trial;
             27. All evidence in the prosecutor's possession or available to the prosecution which is
    favorable to the defendant on the issue of guilt, including but not limited to:
                     a. unfavorable evidence with respect to prosecution witnesses;
                     b. unfavorable evidence respecting any of the codefendants;
                     c. any and all evidence, letters, memoranda, documents, notes or other materiai of
                        any nature disclosing bias and/or prejudice or pre judgment by citizens of this
                        county against the defendant and/or codefendants, and the identity of the
                         persons making statements indicating such views;
                     d. any and all other information respecting any prosecution witness which is
                        favorable to the defendant on the issue of guilt;
                     e. statements made by any persons which are exculpatory with respect to the
                        defendant including all statements made by prospective prosecution witnesses;
            28. All evidence in the prosecution's possession or available to the prosecution which is
    favorable to the defendant on the issue of punishment, including, but not limited to, evidence
    disclosing:
                     a. the defendant has no significant history of prior criminal activity;
                     b. the offense was committed while the defendant was under the influence of
                        extreme mental or emotional disturbance;
                     c. the victim was a participant in the defendant's conduct;
                     d. the defendant was an accomplice and his participation was relatively minor;
                     e. the defendant acted under extreme duress or under the substantial domination of
    another person;
                    f. the capacity of the defendant to appreciate the criminality of his conduct or to
                       conform his conduct to the requirements of the law was substantially impaired;
                    g. anything about the nature of the offense and character and background of the
                        defendant that could be the basis of a sentence less than death;
                    h. partial or total negation of any evidence offered by the State in support of any
                       alleged aggravating circumstance;                                  ·
            29. All diagrams, sketches and photographs which have been made by or shown to any
    witnesses or prospective witnesses in this case, as well as the identity of each witness to whom
    this material was shown;
            30. All records and reports relating to the defendant and codefendants, including, but not
    limited to:
                    a. all juvenile, juvenile detention, juvenile social file, jail, prison, parole,
                        probation and presentence investigation records;
      Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 44 of 83 PageID #: 739
..
     will rely upon a·nd a!ly 111at~r.ial or.information within the possession or control fo the State· which·
     the prosecution ~1n~nds to use as evidence in any sentencing phase in this cause;
                37. The names and addresses of persons whom the State intends to call in aggravation of
       punishment and/or in rebuttal of mitigation together with their written, recor~ed £i!lc:l o~al
       state~ents;
               38. Any prier bad acts which the State intends to introduce as evidence in aggravation of
       punishment together with any evidence in support thereof, witness names and addresses with
       information pertaining to these prior bad acts, statements, notes, documents, memoranda and
       recordings of any witnesses and the defendant in connection with these prior bad acts, and any
       information in the possession of law enforcement or attainable by law enforcement pertaining to
       these prior bad acts;
                39. Notice of any pending charges and/or deals made with any potential State's
       witnesses;
               40. Notice of any victim impact evidence the State intends to introduce at trial in the
       sentencing phase of the case; the names and last know addresses of any victim impact witnesses
       the state intends to call; copies of notes, documents, memoranda and recordings pertaining to any
       victim impact evidence or testimony; copies of all photographs, videotapes or any other materials
       the state intends to introduce in the sentencing phase of trial;
     \
          . 41. Any and all other information which may be n+- ,Jse to the defense in the preparation
                                                                  .

       and/or trial of this case.

                                                     Respectfully submitted,




                                                    Attorney for Defendant
                                                    100 S. Central 2nd Floor
                                                    Clayton, MO 63105
                                                    Phone: 314-615-4778
                                                    Fax: 314-615-0128



                                      Certificate of Service

     this     dayof!~,20 ·                              ,l/?f
     I ce~7;/hat a truer,~Y, of the above and foregoing was personally served on all parties



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                   Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 45 of 83 PageID #: 740
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                     Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 65 of 83 PageID #: 760
P.hoto # 6                                           Tracking #23338106

•rhe photos were printed out as 3 ½" X 5" photos and cut .into individual
photos so that they can be placed in random order for viewing. Refer to
the department Photo Lineup Worksheet for additional information as to
the presentation of photos.

On Saturday, 01/09/2009 PO Zeus Hernandez, DSN 255 responded to
Hardee'sl7368 Chesterfield Airport Rd where he met with Victoria Pluma.
 Pluma works in the kitchen at Hardee's and walked into the restaurant
as the suspect was robbing the store. She also observed the same person
~alking around on the parking lot of the restaurant just prior to the
c:obbery.

?luma only speaks Spanish and Officer Hernandez speaks English and
;panish fluently. Officer Hernandez explained the photo lineup
)recess to Pluma. Refer to the department witness preparation form
:or additional information. Officer Hernandez showed Pluma each photo
.ndividually and one at a time. After viewing the photos, Pluma
.dentified photo# 4 (Andre Williams) as the person she saw on the
,arking lot just prior to the robbery. This is also the same person she
:aw in the restaurant ·at the time of the robbery wearing the ski mask.
,oth people were wearing the exact same clothing. Officer Hernandez had
 luma sign and date the back of . photo.# 4 · indicating her identification
 f the photo.

 igarette butts and a liquor c~n seized nearby the Hardee's where a
 uspect could have waited and watched for employees to arrive, had
 een previously seized as evidence. These items were sent to the St
 ouis County Police crime laboratory for testing along with the suspect
 a.formation on Williams and Leachman. I also learned that Williams was
 irrently in custody at the St Louis Criminal Justice Center on Tucker
 Lvd and that Leachman was in custody.at the St Louis City Work House on
 :!.ll St.

 1is investigation is continuing.




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                   Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 67 of 83 PageID #: 762




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                 Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 68 of 83 PageID #: 763




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                Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 69 of 83 PageID #: 764




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Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 70 of 83 PageID #: 765




                              EXHIBIT #12--~------ •

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                              No. 16-3155

         IN THE UNITED STATES COURT OF APPEALS                                         i
                                                                                       !
                 FOR THE EIGHTH CIRCUIT

                          Andre Williams, Sr.
                               Appellant

                                 .   v.

                               Ian Wallace
                                Appellee

      APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF MISSOURI ,
               HONORABLE CAROLE. JACKSON
                   (No. 4:14-CV-411 (CEJ)

                    APPENDIX OF APPELLANT.


                                                           Christopher S. Swiecicki
                                                          Swiecicki & Muskett, LLC
                                                   17295 Chest~rlield Airport Road
                                                           Chesterfield, MO, 63005 ·
                                                       Telephone: (636) 530-3608
                                                         Facsimile: (636) 530-0596
                                          {;   .               Cell: (314) 341-5796
                                                          Chris@SwiecickiLaw.com
                                                       . Attorney for Appellant
              Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 72 of 83 PageID #: 767

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     Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 79 of 83 PageID #: 774




                                    EXHIBIT #13======== •

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                                       EXHIBIT #14=======•
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Case: 4:14-cv-00411-AGF Doc. #: 85 Filed: 09/05/18 Page: 83 of 83 PageID #: 778
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     ANDRE WILLIAMS,                F-•                    )
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                       Movft.                              )
                                                           )              Cause No. l 2SL-CC00216
                                    '
     v.                                                    )              Hon. Mark D. Seigel
                                                           )              Div.3
     STATE OF MISSO                                        )
                                                           )
                       Resp· ndent.                       ·) ·                       .

     REQUEST FOR        J           I
                                        COURT TO ORDER THE STAT~ TO DISCLOSE LfNEUl'
            PHOTOGR.Ai HS FROM THE UNDERLYING CRIMINAL CAUSE


           Mr. Wil~iams, ·ovant, respe~tfully requests this Court order the St. Louis County
     Prosecuting Anomey'siOffice to disclose to_ undersigned counsel any photographic arrays
     sho~. .Victoria,Plura from the underlying criminal cause1 St. Louis County Cause
     No. 10SL-CR089241- 1. To explain this reques~ Mr. Williams states
            1. Mr. Willi                was charged with first-degree robbery in St. Louis County Cause
     No. 10SL-CR08~241- · 1. The state accused him of forcibly stealing money from
     Hardee's and display°              what appeared to be·a deadly weapon;
            2. The stat~ pr,vidcd discovery to Mr. Williams' plea counsel. That discovery
     incl~ded a color copy     [lf a photographic Hneup array. See        Exhibit 1, attached. The sheet
     did not contain any si'¥1atures, front or back;
            3_. According tl police reports also provided to plea counsel, a Hardces employee.
     Ms, Victoria Pluma,   Ja: shown a photographic lineup. It contained Mr. Williams'
     photo~ph.- A!~g loo~g at the: lineup, -Ms. Pluma identified Mr. Williams as the robber
                               f
     and $lped-and ·dated he back of Mr. Williams' photograph. Ms. Pluma also signed a
                               ,I
                           .   1· .
                           .   !··




                                                                           Respondent's Exhibit H
                                                                               Williams v. Wallace
                                                                    . Case No. 4:14-CV-0412-SNLJ
